       Case 2:22-cr-00190-JMV Document 1 Filed 03/16/22 Page 1 of 5 PageID: 1



AB/20 1s00669


                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                             Hon.

                 V.                                   Criminal No. 22-

  MICHAEL DROBISH                                     18 U.S.C. S 1349


                                  INFORMATION
           The defendant having waived in open court prosecution by Indictment, the

United States Attorney for the District of New Jersey charges:

           1.    At all times reievant to this Information:

                                       Background

                 a.    Defendant MICHAEL DROBISH ("defendant DROBISH") was a

 resident of New Jersey and the owner of "Marketing Company-ll' a company

 based in New Jersey that marketed various compounded drugs, including pain

 creams, scar creams, wound creams, and metabolic supplements, in the state of

 New Jersey and elsewhere.

                 b.    "Compounding" was       a practice in which a pharmacist    or

 physician combined, mixed, or altered ingredients of            a drug to   create a

 medication tailored to an individual patient's needs. Pharmacies engaged in the

 practice of compounding were referred to as "compounding pharmacies."

                 c.    The Food and Drug Administration ("FDA") did not approve

 compounded drugs and thus did not verify the safety, potency, effectiveness, or

 manufacturing quality of compounded drugs.
   Case 2:22-cr-00190-JMV Document 1 Filed 03/16/22 Page 2 of 5 PageID: 2



             d.     Generally, a physician prescribed compounded drugs when

an FDA-approved drug did not meet the health needs of a particular patient. For

example,   if a patient was allergic to a specific ingredient in an FDA-approved
medication, such as a dye or preservative, a compounded drug could be prepared

excluding the substance that triggered the allergic reaction. Compounded drugs

also could be prescribed when a patient could not consume a medication by

traditional means, such as an elderly patient or chiid who could not swallow an

FDA-approved      pill and who needed the drug in a liquid form that was not
otherwise available.

             e.     Certain health insurance plans (the "Paying Plans") paid
substantially higher reimbursements for various compounded drugs than for

FDA-approved equivalent drugs. Each of the Paying Plans constituted a "health

care benefit program" that affected commerce as defined   in   18 U.S.C. S 24(b).

                                The Conspiracy

      2.     From in or about April 2Ol4 through in or around January 2017, in

the District of New Jersey and elsewhere, defendant

                              MICHAEL DROBISH

did knowingly and intentionally conspire and agree with others to knowingly and

willfully execute, and attempt to execute, a scheme and artifice to defraud health

care benefit programs, as defined by 18 U.S.C. S 24(b), and to obtain, by means

of false and fraudulent pretenses, representations, and promises, any of the
money and propert5r owned by, and under the custody and control of, health care

benefit programs, in connection with the delivery of or payment for heaith care
    Case 2:22-cr-00190-JMV Document 1 Filed 03/16/22 Page 3 of 5 PageID: 3




benefits, items, and services, contrary to Title 18, United States Code, Section

L347.

                            Goal of the ConsPiracy

        3.   The goal of the conspiracy was for defendant DROBISH and others

to unlawfully enrich    themselves   by causing the submission of false     and

fraudulent claims to the Paying Plans for medically unnecessary compounded

drugs, and by obtaining a portion of the money that the Paying Plans paid for

those compounded drugs.

                     Manner and Means of the ConsPiracy

        4.   It was part of the consPiracY that:

             a.    From in or about April 2Ol4 to in or about January 2017,

defendant DROBISH caused "sales representatives" for Marketing Company- 1 to

(1) obtain medically unnecessary compounded drugs for themselves or their

famiiy members through their respective Paying Plans, and (2) recruit others

with Paying Plans to obtain medically unnecessary compounded drugs.
             b.    Through Marketing pompany-1, defendant DROBISH and his

co-conspirators caused prescribing physicians in New Jersey and eisewhere to

write prescriptions for: (1) individuals with whom they did not have any
 interaction for purposes of determining that a prescription for a compounded

 drug was med.ically necessary, or (2) individuals for whom they deliberately
 conducted. a cursory examination that was insufficient to legitimately deem a

 compounded drug medically necessary.

              c.    Defendant DROBISH and          others ensured that        the
    Case 2:22-cr-00190-JMV Document 1 Filed 03/16/22 Page 4 of 5 PageID: 4




compounded prescriptions were directed to certain compounding pharmacies

(the "Compound.ing Pharmacies") with which they conspired. In exchange for

the prescriptions that Marketing Company-1 directed to them, the Compounding

Pharmacies paid Marketing Company-l        a   percentage of the reimbursement

payment for each compounded drug that Marketing Company-l caused to be

billed to a Paying Plan.

             d.    As the owner of Marketing Company-1, defendant DROBISH

kept a portion of the payment and provided a "commission" payment to the sales

representative that generated the business.

             e.    Defendant DROBISH and others also provided payments to

the patients that he and others caused to receive medically unnecessary
compounded medications as compensation for their participation in the scheme.

             f.    Through these methods, defendant DROBISH caused the
paying Plans to be biiled for medically unnecessary compounded medications.

             g.    As a result of defendant DROBISH's participation in the
scheme    to bill for medically unnecessary compounded drugs,        defendant

DROBISH caused a loss to the Paying Plans of over $6,000,000.

       In violation of Title 18, United states code, section 1349.
     Case 2:22-cr-00190-JMV Document 1 Filed 03/16/22 Page 5 of 5 PageID: 5



                             FORFEITURE ALLEGATION

          1.    Upon conviction of conspiracy to commit health care fraud, contrary

to 18 U.S.C. g 1347, in violation of 18 U.S.C. S 1349, as alleged in               this
Information, defendant DROBISH shall forfeit to the United States, pursuant to

18 U.S.C. $ 982(a)(7), all property, real or personal, obtained by defendant
DROBISH that constitutes         or is derived, directly and indirectly, from    gross

proceeds traceable to the commission of such offense, the value of which totaled

fi532,649.64.

                             Substitute Assets Provision

          2.     If any of the above-described forfeitable property, as a result of any

act or omission of the defendant:

                (a)   cannot be located upon the exercise of due diligence;

                (b)   has been transferred or sold to, or deposited with, a third

                      person;

                (c)   has been placed beyond the jurisdiction of the Court;

                (d)   has been substantially diminished in value; or

                (e)   has been commingled with other propert5r which cannot be

                      subdivided without difficulty;

the United States shall be entitled to forfeiture of substitute propert5r, pursuant

to   2l   U.S.C. $ 853(p), as incorporated by 18 U.S.C. S 982(b).




                                                PHILIP R. SELLINGER
                                                United States Attorney
